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Asia Pacific
Bangkok
Beijing
Brisbane                   January 31, 2022
Hanoi
Ho Chi Minh City
Hong Kong
Jakarta
Kuala Lumpur*              John A. Morris                                                             By email
Manila*                                                                                               jmorris@pszjlaw.com
Melbourne
Seoul
                           Jeffrey N. Pomerantz                                                       jpomerantz@pszjlaw.com
Shanghai
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                           Pachulski Stang Ziehl & Jones
Sydney
Taipei
                           780 Third Avenue, 34th Floor
Tokyo
Yangon                     New York, NY 10017
Europe, Middle East
& Africa
Abu Dhabi
                           Re:       In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (Bankr. N.D.
Almaty
Amsterdam
                                     Tex.); Partial Objection to Debtor’s Proposed Settlement Agreement with Daugherty
Antwerp
Bahrain
Barcelona
Berlin
                           Dear Mr. Morris,
Brussels
Budapest
Cairo
Casablanca
                           We write on behalf of Scott Ellington (our “Client”) to resolve certain limited objections
Doha
Dubai
                           to the Reorganized Debtor’s Motion for Entry of an Order Approving Settlement with
Dusseldorf
Frankfurt/Main
                           Patrick Hagaman Daugherty (Claim No. 205) and Authorizing Actions Consistent
Geneva
Istanbul
                           Therewith dated December 8, 2021 [Doc. 3088, the “Motion for Entry of Settlement”] and
Jeddah*
Johannesburg
                           the proposed Settlement Agreement related thereto [Doc. 3089-1, the “Settlement
Kyiv
London
                           Agreement”]. In reviewing the Settlement Agreement, we have serious concerns about two
Luxembourg
Madrid
                           provisions which (1) grant Mr. Daugherty1 a means to access the Claimant Trust Oversight
Milan
Moscow
                           Board; and (2) assign Mr. Daugherty the Debtor’s interest in two entities, HERA and ERA.
Munich
Paris
                           See Settlement Agreement ¶¶ 3, 8. In light of Mr. Daugherty’s ongoing inappropriate
Prague
Riyadh*
                           conduct, including stalking and harassing our Client which formed the basis of a temporary
Rome
St. Petersburg
                           restraining order being issued against Mr. Daugherty, these settlement terms are
Stockholm
Vienna
                           inappropriate, were not previously mentioned at the Confirmation Hearing, and should be
Warsaw
Zurich
                           removed.
The Americas
Bogota                     As background, Mr. Daugherty has engaged in a pattern of stalking our Client and other
Brasilia**
Buenos Aires               individuals closely associated with our Client (including our Client’s girlfriend, father,
Caracas
Chicago                    sister, and at least three minor children). In an attempt to curtail this illegal behavior, our
Dallas
Guadalajara
Houston
                           Client filed a lawsuit against Mr. Daugherty in Texas state court on January 11, 2022. The
Juarez
Lima
                           state court action was removed to the Bankruptcy Court on January 18, 2022 (see Scott
Los Angeles
Mexico City
                           Byron Ellington v. Patrick Daugherty, Adv. Proc. No. 22-03003-sgj) and is the subject of
Miami
Monterrey
                           a pending motion to abstain and remand. The state court petition (Adv. Proc. No. 22-03003-
New York
Palo Alto
                           sgj, Doc. 1-1) describes in detail the various acts Mr. Daugherty has engaged in, including
Porto Alegre**
Rio de Janeiro**
                           143 documented incidents of following our Client to his home or business, photographing
San Francisco
Santiago
                           him without permission, or surreptitiously video recording him.
Sao Paulo**
Tijuana
Toronto                    While we do not object to the economics of the Settlement Agreement, two specific
                           provisions therein pose serious concerns in light of Mr. Daugherty’s ongoing conduct and
Valencia
Washington, DC

* Associated Firm
** In cooperation with
Trench, Rossi e Watanabe
Advogados                  1 Any capitalized term used but not otherwise defined herein shall have the meaning ascribed to it in the Motion
                           for Entry of Settlement.



                           Baker & McKenzie LLP is a member of Baker & McKenzie International.
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              the facts described above, and should not be approved as part of the Settlement Agreement.
              We request that the Debtor revisit and voluntarily withdraw the following two provisions,
              neither of which were mentioned by counsel on behalf of the Debtor or Mr. Daugherty in
              reciting the terms of the Settlement Agreement at the February 2-3, 2021 Confirmation
              Hearing:

                      3. Observation Access: As soon as practicable following entry of an order of the
                       Bankruptcy Court approving this Settlement, HCMLP shall use reasonable
                       efforts to petition the Claimant Trust Oversight Board to permit Daugherty
                       to have access as an observer to meetings of the Claimant Trust Oversight
                       Board, subject to policies, procedures, and agreements applicable to other
                       observers of the Claimant Trust Oversight Board, including policies, procedures,
                       and agreements related to confidentiality and common interest. Whether
                       Daugherty will be granted observer access and any continuing observer access is
                       and will remain at the sole discretion of the Claimant Trust Oversight Board.

                      8. HERA and ERA: “The Parties acknowledge and agree that as of the date hereof,
                       HERA and ERA have no material assets other than potential claims that may exist
                       against persons or entities not released at or prior to the date hereof, and no claims
                       against the HCMLP Released Parties. . . . To facilitate recovery of such potential
                       claims -- which expressly excludes any and all claims by or in the name of HERA
                       and ERA against any of the HCMLP Released Parties -- HCMLP will transfer
                       its interests in HERA and ERA to Daugherty …”

              Settlement Agreement ¶¶ 3, 8 (emphasis added).

              The Observation Access provision of the Settlement Agreement requires the Debtor to use
              reasonable efforts to petition the Claimant Trust Oversight Board to permit Mr. Daugherty
              to have access to meetings of the Claimant Trust Oversight Board. Given the instability of
              Mr. Daugherty, as demonstrated by his recent actions, we have serious concerns about Mr.
              Daugherty having any right to such access, which could give him both sensitive insight
              into information he could use to further harass the targets of his illegal conduct and a
              platform to influence the Claimant Trust Oversight Board to take actions to further his on-
              going illegal conduct.2

              Additionally, the HERA and ERA provision of the Settlement Agreement seems to serve
              no purpose other than to permit Mr. Daugherty to bring additional causes of action against
              our Client and other former employees of the Debtor. It also could expose the Debtor’s
              estate to claims that it aided and abetted Mr. Daugherty in the commission of a crime
              against our Client. Specifically, the Settlement Agreement seeks to assign to Mr. Daugherty
              shares in Highland Employee Retention Assets LLC (“HERA”) and Highland ERA

              2 Though this provision would only give Mr. Daugherty observer access at the “discretion of the Claimant
              Trust Oversight Board,” the Debtor and the Court should not condone even discretionary access of a stalker
              to his victims.



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              Management, LLC (“ERA”). Those shares are of defunct entities, and have no economic
              value. Indeed, the Settlement Agreement acknowledges that “HERA and ERA have no
              material assets other than potential claims that may exist against persons or entities not
              released.” Settlement Agreement ¶ 8. Again, given the instability of Mr. Daugherty, we
              have serious concerns about Mr. Daugherty stepping into the shoes of those defunct entities
              for the sole purpose of further harassing the targets of his illegal conduct.

              Neither of these two provisions were necessary or material to the Debtor and Mr.
              Daugherty’s mutual announcement of resolution at the Confirmation Hearing, nor do they
              seem material to the Settlement Agreement. Yet, they could result in improper harassment
              and illegal conduct at the hands of Mr. Daugherty. We therefore respectfully request that
              the Reorganized Debtor withdraw these two provisions of the Settlement Agreement. If
              you would like to discuss, please let us know and we will arrange a time for a call.

              Sincerely,


              Michelle Hartmann


              +1 214 978-3421
              Michelle.Hartmann@bakermckenzie.com


              cc: Debra Dandeneau and Frank Grese
                  Baker & McKenzie

                 Frances Smith and Eric Soderland
                 Ross & Smith, PC




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